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       MONSTER ENERGY COMPANY
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  11
  12                 IN THE UNITED STATES DISTRICT COURT
  13               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14
       MONSTER ENERGY COMPANY,            )   Case No. 5:17-CV-00548
  15                                      )
       a Delaware corporation,            )   COMPLAINT FOR TRADEMARK
  16                                      )   INFRINGEMENT, TRADE DRESS
                  Plaintiff,              )
  17                                      )   INFRINGMENT, FALSE
             v.                           )   DESIGNATION OF ORIGIN, AND
  18                                      )   UNFAIR COMPETITION
       INTEGRATED SUPPLY                  )
  19   NETWORK, LLC, a Florida limited    )   DEMAND FOR JURY TRIAL
       liability company,                 )
  20                                      )
                  Defendant.              )
  21
  22
  23
  24
  25
  26
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   1         Plaintiff Monster Energy Company (“Plaintiff” or “Monster”) hereby
   2   complains of Defendant Integrated Supply Network, LLC (“Defendant”), and
   3   alleges as follows:
   4                         I. JURISDICTION AND VENUE
   5         1.     This is an action for 1) trademark infringement, trade dress
   6   infringement, and false designation of origin under 15 U.S.C. § 1125(a), 2)
   7   trademark infringement under 15 U.S.C. § 1114, 3) California common-law
   8   unfair competition, and 4) unfair competition arising under California Business
   9   & Professions Code §§ 17200 et seq.
  10         2.     The Court has original subject matter jurisdiction over the claims
  11   that relate to trademark infringement, trade dress infringement, and false
  12   designation of origin pursuant to 15 U.S.C. §§ 1116 and 1121(a) and also
  13   pursuant to 28 U.S.C. §§ 1331 and 1338, as these claims arise under the laws of
  14   the United States. The Court has supplemental jurisdiction over the claims in
  15   this Complaint which arise under state statutory and common law pursuant to 28
  16   U.S.C. §§ 1338(b) and 1367(a), because the state law claims are so related to
  17   the federal claims that they form part of the same case or controversy and derive
  18   from a common nucleus of operative facts.
  19         3.     This Court has personal jurisdiction over Defendant because
  20   Defendant has a continuous, systematic, and substantial presence within this
  21   Judicial District and within California. Defendant has distribution centers in
  22   Fresno and West Sacramento, California. Defendant advertises the location of
  23   its   distribution    centers    on     one       of   Defendant’s     websites,
  24   http://www.isnweb.com/isnweb/contact.        In addition, by committing acts of
  25   trademark infringement, trade dress infringement, false designation of origin,
  26   and unfair competition in this Judicial District, including, but not limited to,
  27   using infringing marks in connection with the sale of products to customers in
  28
                                              -1-
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   1   this Judicial District, Defendant’s acts form a substantial part of the events or
   2   omissions giving rise to Monster’s claims.
   3         4.     Venue is proper in this Judicial District pursuant to 28 U.S.C.
   4   § 1391(b) and (c) at least because Defendant resides in this Judicial District by
   5   virtue of doing business within the Judicial District and a substantial portion of
   6   the events complained of herein took place in this Judicial District.
   7                                  II. THE PARTIES
   8         5.     Monster is a corporation organized and existing under the laws of
   9   the State of Delaware, having a principal place of business at 1 Monster Way,
  10   Corona, California 92879.
  11         6.     Upon information and belief, Defendant is a limited liability
  12   company organized and existing under the laws of the State of Florida, having a
  13   principal place of business at 2727 Interstate Drive Lakeland, Florida 33805.
  14   Defendant is subject to the personal jurisdiction of this Court by virtue of its
  15   substantial contacts with California, including its participation in the acts and
  16   events occurring in this Judicial District described herein.
  17        III. COMMON ALLEGATIONS FOR ALL CLAIMS OF RELIEF
  18   A.    Monster’s Trademarks and Trade Dress
  19         7.     Monster is a nationwide leader in the business of developing,
  20   marketing, selling, and distributing beverages. Monster has achieved extensive
  21   exposure and widespread recognition of its MONSTER™ brand through its
  22   sponsorship of motorsports athletes, teams and events, among other
  23   sponsorships.
  24         8.     In 2002, long before Defendant’s acts described herein, Monster
  25   launched its MONSTER ENERGY® drink brand, bearing its now-famous
  26   MONSTER mark and MONSTER ENERGY® mark.
  27         9.     Monster’s successful line of MONSTER drinks has grown to
  28   include numerous other well-known products, the containers and packaging of
                                               -2-
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   1   which are prominently marked with the MONSTER mark. The MONSTER line
   2   of drinks includes or has included, but is not limited to, original Monster
   3   Energy® and Lo-Carb Monster Energy®; Monster Assault®; Juice Monster®
   4   Khaos®, Juice Monster® Ripper®, and Juice Monster® Pipeline Punch®;
   5   Ubermonster®; Monster Energy® Gronk; Monster Energy® Import; Punch
   6   Monster® Baller’s Blend and Punch Monster® Mad Dog; Monster Energy
   7   Absolutely Zero®; Monster Energy Zero Ultra®, Monster Energy Ultra Blue®,
   8   Monster Energy Ultra Red®, Monster Energy Ultra Sunrise®, Monster Energy
   9   Ultra Citron®, and Monster Energy Ultra Black®; Monster Rehab®, which is a
  10   line of tea-based non-carbonated energy drinks, which includes Monster’s
  11   Monster Rehab® Tea + Orangeade + Energy, Monster Rehab® Tea + Pink
  12   Lemonade + Energy, Monster Rehab® Tea + Lemonade + Energy, Monster
  13   Rehab® Raspberry Tea + Energy, and Monster Rehab® Peach Tea + Energy;
  14   Java Monster®, which is a line of dairy based coffee plus energy drinks; Muscle
  15   Monster®, which is a line of energy shakes; Monster Energy Extra Strength
  16   Nitrous Technology®, which is a line of energy drinks with a blend of nitrous
                                                                            ®
  17   oxide and carbon dioxide to create a smoother energy drink; and          Monster
  18   Energy® which is a five ounce concentrated energy drink, among others
  19   (referred to collectively as “MONSTER line of drinks”).
  20         10.   Monster is also the owner of numerous trademark registrations for
  21   marks that incorporate its famous MONSTER Mark and/or MONSTER
  22   ENERGY® Mark, for use in connection with beverages, nutritional
  23   supplements, clothing, sporting goods, promoting goods and services in the
  24   motorsports industry, and other products and services, including the following
  25   U.S. Trademark Registrations:
  26
  27
  28
                                             -3-
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   1                                                       DATE        REG.
          MARK       REG. NO.      GOODS/SERVICES
                                                           FILED       DATE
   2
        MONSTER      4,721,433 Promoting goods and       03/12/2014 04/14/2015
   3    ENERGY                 services in the sports,
                               motorsports, electronic
   4
                               sports, and music
   5                           industries through the
                               distribution of printed,
   6
                               audio and visual
   7                           promotional materials;
                               promoting sports and
   8
                               music events and
   9                           competitions for others
  10    MONSTER      3,044,315 Nutritional supplements in 05/23/2003 01/17/2006
        ENERGY                 liquid form, but excluding
  11                           perishable beverage
  12                           products that contain fruit
                               juice or soy, whether such
  13                           products are pasteurized or
  14                           not
        MONSTER      3,057,061 Fruit juice drinks having a 04/18/2002 02/27/2006
  15    ENERGY                 juice content of 50% or
  16                           less by volume that are
                               shelf stable, carbonated
  17                           soft drinks, carbonated
  18                           drinks enhanced with
                               vitamins, minerals,
  19                           nutrients, amino acids
  20                           and/or herbs, but excluding
                               perishable beverage
  21                           products that contain fruit
  22                           juice or soy, whether such
                               products are pasteurized or
  23                           not
  24                 3,908,601 Clothing, namely, t-shirts, 04/02/2009 01/18/2011
                               hooded shirts and hooded
  25
                               sweatshirts, sweat shirts,
  26                           jackets, pants, bandanas,
  27                           sweat bands and gloves;
                               headgear, namely, hats and
  28                           beanies
                                          -4-
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   1                                                        DATE        REG.
          MARK       REG. NO.      GOODS/SERVICES
                                                            FILED       DATE
   2
                     3,914,828 Sports helmets             04/02/2009 02/01/2011
   3
   4
                     3,923,683 All purpose sport bags;    04/02/2009 02/22/2011
   5                           All-purpose carrying bags;
   6                           Backpacks; Duffle bags
   7                 3,908,600 Stickers; sticker kits     04/02/2009 01/18/2011
   8                           comprising stickers and
                               decals; decals
   9
                     4,332,062 Silicone wrist bands;        10/05/2012 05/07/2013
  10                           silicone bracelets; jewelry,
  11                           namely, bracelets and
                               wristbands
  12
                     4,660,598 Lanyards; Lanyards for      08/26/2013 12/23/2014
  13
                               holding whistles, keys,
  14                           eyeglasses, sunglasses,
                               mobile telephones, badges,
  15
                               identification cards, event
  16                           passes, media passes,
                               photographs, recording
  17
                               equipment, or similar
  18                           conveniences
  19                 3,740,050 Nutritional supplements; 08/07/2009 01/19/2010
                               Beverages, namely,
  20                           carbonated soft drinks,
  21                           carbonated drinks
                               enhanced with vitamins,
  22                           minerals, nutrients, amino
  23                           acids and/or herbs,
                               carbonated and non-
  24                           carbonated energy or
  25                           sports drinks
          M          3,044,314 Nutritional supplements in 05/23/2003 01/17/2006
  26    MONSTER                liquid form, but excluding
  27    ENERGY                 perishable beverage
                               products that contain fruit
  28
                                          -5-
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   1                                                             DATE        REG.
          MARK       REG. NO.      GOODS/SERVICES
                                                                 FILED       DATE
   2
                                 juice or soy, whether such
   3                             products are pasteurized or
                                 not
   4
          M          3,134,842   Beverages, namely,             05/07/2003 08/29/2006
   5    MONSTER                  carbonated soft drinks,
   6    ENERGY                   carbonated drinks
                                 enhanced with vitamins,
   7                             minerals, nutrients, amino
   8                             acids and/or herbs,
                                 carbonated energy or
   9                             sports drinks, fruit juice
  10                             drinks having a juice
                                 content of 50% or less by
  11                             volume that are shelf
  12                             stable, but excluding
                                 perishable beverage
  13                             products that contain fruit
  14                             juice or soy, whether such
                                 products are pasteurized or
  15                             not
  16    MONSTER      4,036,680   Nutritional supplements in     09/11/2007 10/11/2011
        ENERGY                   liquid form
  17
        MONSTER      4,036,681   Non-alcoholic beverages,       09/11/2007 10/11/2011
  18    ENERGY                   namely, energy drinks,
                                 excluding perishable
  19
                                 beverage products that
  20                             contain fruit juice or soy
  21    MONSTER      4,111,964   Ready to drink tea, iced tea   08/24/2011 03/13/2012
         REHAB                   and tea based beverages;
  22                             ready to drink flavored tea,
  23                             iced tea and tea based
                                 beverages
  24    MONSTER      4,129,288   Nutritional supplements in     07/06/2010 04/17/2012
  25     REHAB                   liquid form
  26                             Beverages, namely, non-
  27                             alcoholic non-carbonated
                                 drinks enhanced with
  28
                                           -6-
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   1                                                         DATE       REG.
          MARK       REG. NO.      GOODS/SERVICES
                                                             FILED      DATE
   2
                               vitamins, minerals,
   3                           nutrients, proteins, amino
                               acids and/or herbs; non-
   4
                               carbonated energy or
   5                           sports drinks, fruit juice
                               drinks having a juice
   6
                               content of 50% or less by
   7                           volume that are shelf-
                               stable; all the foregoing
   8
                               goods exclude perishable
   9                           beverage products that
                               contain fruit juice or soy,
  10
                               whether such products are
  11                           pasteurized or not
  12    MUSCLE       4,376,796 Nutritional supplements in 07/02/2010 07/30/2013
        MONSTER                liquid form
  13
  14                           Beverages, namely, soft
                               drinks; non-alcoholic and
  15                           non-carbonated drinks
  16                           enhanced with vitamins,
                               minerals, nutrients,
  17                           proteins, amino acids
  18                           and/or herbs; non-
                               carbonated energy or
  19                           sports drinks; all the
  20                           foregoing goods exclude
                               perishable beverage
  21                           products that contain fruit
  22                           juice or soy, whether such
                               products are pasteurized or
  23                           not
  24    MUSCLE       4,451,535 Vitamin fortified           07/10/2013 12/17/2013
        MONSTER                beverages
  25
  26                            Dairy-based beverages;
                                dairy-based energy shakes;
  27
                                energy shakes; coffee
  28                            energy shakes; chocolate
                                          -7-
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   1                                                       DATE         REG.
          MARK       REG. NO.      GOODS/SERVICES
                                                           FILED        DATE
   2
                                energy shakes
   3
                               Ready to drink coffee
   4
                               based beverages; ready to
   5                           drink chocolate-based
                               beverages
   6
         JUICE       4,716,750 Nutritional supplements in 02/24/2012 04/07/2015
   7    MONSTER                liquid form;
   8
                               Non-alcoholic beverages,
   9                           namely, energy drinks and
  10                           drinks enhanced with
                               vitamins, minerals,
  11                           nutrients, amino acids
  12                           and/or herbs, but excluding
                               perishable beverage
  13                           products that contain fruit
  14                           juice or soy.
        MONSTER      4,634,053 Nutritional supplements in 11/15/2013 11/04/2014
  15    ASSAULT                liquid form;
  16
                               Vitamin fortified
  17                           beverages; Non-alcoholic
  18                           beverages, namely, energy
                               drinks, energy drinks
  19                           flavored with juice, sports
  20                           drinks, all enhanced with
                               vitamins, minerals,
  21                           nutrients, proteins, amino
  22                           acids, and/or herbs, but
                               excluding perishable
  23                           beverage products that
  24                           contain fruit juice or soy,
                               whether such products are
  25                           pasteurized or not
  26     PUNCH       4,604,556 Nutritional supplements in 11/22/2013 09/16/2014
  27    MONSTER                liquid form; Vitamin
                               fortified beverages;
  28                           Non-alcoholic beverages,
                                          -8-
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    1                                                       DATE         REG.
           MARK       REG. NO.      GOODS/SERVICES
                                                            FILED        DATE
    2
                                namely, energy drinks,
    3                           energy drinks flavored
                                with juice, sports drinks,
    4
                                all enhanced with
    5                           vitamins, minerals,
                                nutrients, proteins, amino
    6
                                acids, and/or herbs, but
    7                           excluding perishable
                                beverage products that
    8
                                contain fruit juice or soy,
    9                           whether such products are
                                pasteurized or not
   10
          JAVA        3,959,457 Beverages, namely, soft     12/8/2005 05/10/2011
   11    MONSTER                drinks; non-carbonated
   12                           energy drinks; non-
                                carbonated sports drinks;
   13                           soft drinks and non-
   14                           carbonated energy drinks,
                                all enhanced with
   15                           vitamins, minerals,
   16                           nutrients, amino acids,
                                and/or herbs, but excluding
   17                           perishable beverage
   18                           products that contain fruit
                                juice or soy, whether such
   19                           products are pasteurized or
   20                           not
          JAVA        5,018,111 Ready to drink coffee, iced 03/15/2016 08/09/2016
   21    MONSTER                coffee and coffee based
   22                           beverages; ready to drink
                                flavored coffee, iced
   23                           coffee and coffee based
   24                           beverages
         UBERMON      4,234,456 Nutritional supplements in 07/09/2010 10/30/2012
   25
           STER                 liquid form;
   26
   27                            Beverages, namely,
                                 carbonated soft drinks;
   28                            nonalcoholic carbonated
                                           -9-
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    1                                                       DATE         REG.
           MARK       REG. NO.      GOODS/SERVICES
                                                            FILED        DATE
    2
                                soft drinks and energy
    3                           drinks enhanced with
                                vitamins, minerals,
    4
                                nutrients, proteins, amino
    5                           acids and/or herbs;
                                carbonated energy drinks
    6
                                and sports drinks; all the
    7                           foregoing goods exclude
                                perishable beverage
    8
                                products that contain fruit
    9                           juice or soy, whether such
                                products are pasteurized or
   10
                                not
   11   MONSTER       5,041,267 Nutritional supplements; 08/03/2011 09/13/2016
   12   UNLEADED
                                Non-alcoholic drinks,
   13                           namely, carbonated soft
   14                           drinks, carbonated energy
                                drinks, sports drinks, and
   15                           soft drinks, energy drinks
   16                           and sports drinks enhanced
                                with vitamins, minerals,
   17                           nutrients, amino acids
   18                           and/or herbs
        MONSTER       4,989,137 Nutritional supplements in 05/14/2014 06/28/2016
   19    ENERGY                 liquid form;
   20   UNLEADED
                                Non-alcoholic beverages,
   21                           namely, carbonated soft
   22                           drinks, carbonated and
                                non-carbonated energy
   23                           drinks, sports drinks, and
   24                           soft drinks, energy drinks
                                and sports drinks enhanced
   25                           with vitamins, minerals,
   26                           nutrients, amino acids
                                and/or herbs
   27
         MONSTER      5,013,706 Nutritional supplements in 01/20/2015 08/02/2016
   28    ENERGY                 liquid form;
                                          -10-
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    1                                                          DATE      REG.
           MARK       REG. NO.      GOODS/SERVICES
                                                               FILED     DATE
    2
        ABSOLUTE
    3    LY ZERO                Non-alcoholic beverages,
                                namely, soft drinks,
    4
                                carbonated soft drinks,
    5                           energy drinks and sports
                                drinks; energy drinks and
    6
                                sports drinks enhanced
    7                           with vitamins, minerals,
                                nutrients, amino acids
    8
                                and/or herbs
    9    MONSTER      4,532,292 Nutritional supplements in 06/13/2013 05/20/2014
   10    ENERGY                 liquid form; vitamin
          ULTRA                 fortified beverages;
   11      RED
   12                           Non-alcoholic beverages,
                                namely, energy drinks, soft
   13                           drinks, sports drinks, all
   14                           enhanced with vitamins,
                                minerals, nutrients, amino
   15                           acids and/or herbs; all the
   16                           foregoing goods exclude
                                perishable beverage
   17                           products that contain fruit
   18                           juice or soy, whether such
                                products are pasteurized or
   19                           not
   20    MONSTER      4,534,414 Nutritional supplements in 01/02/2013 05/20/2014
         ENERGY                 liquid form; vitamin
   21     ULTRA                 fortified beverages;
   22     BLUE
                                 Non-alcoholic beverages,
   23                            namely, energy drinks, soft
   24                            drinks, sports drinks, all
                                 enhanced with vitamins,
   25                            minerals, nutrients, amino
   26                            acids and/or herbs; all the
                                 foregoing goods exclude
   27
                                 perishable beverage
   28                            products that contain fruit
                                          -11-
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    1                                                        DATE        REG.
           MARK       REG. NO.      GOODS/SERVICES
                                                             FILED       DATE
    2
                                juice or soy, whether such
    3                           products are pasteurized or
                                not
    4
         MONSTER      4,860,491 Nutritional supplements in 05/13/2014 11/24/2015
    5    ENERGY                 liquid form;
    6     ULTRA
          BLACK                 Non-alcoholic beverages,
    7                           namely, carbonated soft
    8                           drinks, carbonated energy
                                drinks, sports drinks, and
    9                           soft drinks, energy drinks
   10                           and sports drinks enhanced
                                with vitamins, minerals,
   11                           nutrients, amino acids
   12                           and/or herbs
         MONSTER      4,856,373 Nutritional supplements in 05/14/2014 11/17/2015
   13    ENERGY                 liquid form;
   14     ULTRA
          CITRON                Non-alcoholic beverages,
   15                           namely, carbonated soft
   16                           drinks, carbonated energy
                                drinks, sports drinks, and
   17                           soft drinks, energy drinks
   18                           and sports drinks enhanced
                                with vitamins, minerals,
   19                           nutrients, amino acids
   20                           and/or herbs
         MONSTER      4,879,793 Nutritional supplements in 12/18/2014 01/05/2016
   21
         ENERGY                 liquid form;
   22      ZERO
          ULTRA                  Non-alcoholic beverages,
   23
                                 namely, soft drinks,
   24                            carbonated soft drinks,
                                 energy drinks, sports
   25
                                 drinks; energy drinks and
   26                            sports drinks enhanced
   27                            with vitamins, minerals,
                                 nutrients, amino acids
   28                            and/or herbs
                                          -12-
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    1                                                          DATE        REG.
           MARK       REG. NO.      GOODS/SERVICES
                                                               FILED       DATE
    2
         ASSAULT      3,924,797 Beverages, namely,           08/29/2005 03/01/2011
    3       M                   carbonated drinks
         MONSTER                enhanced with vitamins,
    4
         ENERGY                 minerals, nutrients, amino
    5                           acids, and/or herbs;
                                carbonated and non-
    6
                                carbonated energy drinks
    7    LO-CARB      3,852,118 Nutritional supplements; 02/13/2009 09/28/2010
    8    MONSTER
         ENERGY                 Non-alcoholic beverages,
    9                           namely, energy drinks,
   10                           drinks enhanced with
                                vitamins, minerals,
   11                           nutrients, amino acids
   12                           and/or herbs
                      3,134,841 Beverages, namely,          05/07/2003 08/29/2006
   13                           carbonated soft drinks,
   14                           carbonated soft drinks
                                enhanced with vitamins,
   15                           minerals, nutrients, amino
   16                           acids and/or herbs,
                                carbonated energy and
   17                           sports drinks, fruit juice
   18                           drinks having a juice
                                content of 50% or less by
   19                           volume that are shelf
   20                           stable, but excluding
                                perishable beverage
   21                           products that contain fruit
   22                           juice or soy, whether such
                                products are pasteurized or
   23                           not
   24                 4,865,702 Nutritional supplements in 02/02/2015 12/08/2015
                                liquid form;
   25
   26                            Non-alcoholic beverages,
   27                            namely, carbonated soft
                                 drinks; carbonated drinks
   28                            enhanced with vitamins,
                                          -13-
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    1                                                              DATE          REG.
           MARK        REG. NO.        GOODS/SERVICES
                                                                   FILED         DATE
    2
                                    minerals, nutrients,
    3                               proteins, amino acids
                                    and/or herbs; carbonated
    4
                                    energy drinks and sports
    5                               drinks
    6         11.    Attached hereto as Exhibits A1-A36 are true and correct copies of
    7   Monster’s trademark registrations identified in Paragraph 10 of this Complaint,
    8   which are hereby incorporated by reference. Collectively, those registrations
    9   and trademarks, including all common law rights therein, are referred to as the
   10   “MONSTER Marks.”
   11         12.    Pursuant to 15 U.S.C. § 1065, U.S. Trademark Registration Nos.
   12   3,044,314, 3,044,315, 3,057,061, 3,134,841, 3,134,842, 3,852,118, 3,959,457,
   13   and 3,908,600 are incontestable.
   14         13.    In addition, since 2002, Monster has consistently used a distinctive
   15   trade dress for its packaging and promotional materials, including a stylized font
   16   for the mark MONSTER on a dark background, a bright contrasting accent
   17   color, including bright green, and an overall aggressive, edgy theme, as shown
   18   below (the “MONSTER Trade Dress”):
   19
   20
   21
   22
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    1         14.   Long before Defendant’s acts described herein, Monster has used
    2   or licensed the use of its MONSTER Marks and/or MONSTER Trade Dress in
    3   connection with products used in connection with or associated with motorized
    4   vehicles and motorsports, such as automotive wheels, replica cars, remote
    5   control cars, graphic kits for motorized vehicles, clothing, gloves, stickers,
    6   sports helmets, bags, backpacks, and other related accessories. True and correct
    7   examples of authorized products bearing Monster’s MONSTER Marks are
    8   shown below.
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    1         15.   In addition, Monster has used, and continues to use, its MONSTER
    2   Marks and/or MONSTER Trade Dress in connection with apparel and
    3   accessories, including, for example, t-shirts, hooded shirts, hooded sweatshirts,
    4   sweatshirts, jackets, pants, bandanas, sweat bands, gloves, headgear, stickers,
    5   and decals. True and correct examples of authorized apparel bearing Monster’s
    6   MONSTER Marks and/or MONSTER Trade Dress are shown below.
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    1         16.   In addition, since at least 2002, Monster has also used the famous
    2   UNLEASH THE BEAST!® mark in connection with its MONSTER ENERGY®
    3   brand. In addition to its continued use of the UNLEASH THE BEAST!® mark,
    4   Monster also used its PUMP UP THE BEAST!®, REHAB THE BEAST!®,
    5   REHAB THE BEAST! WWW.MONSTERENERGY.COM®, UNLEASH THE
    6   NITRO BEAST!®, UNLEASH THE ULTRA BEAST!®, and UNLEASH THE
    7   CAFFEINE FREE BEAST!® marks on its products (collectively, the “BEAST
    8   Marks”). Shown below are true and accurate representative pictures illustrating
    9   just a few examples of Monster’s point of sale materials bearing Monster’s
   10   BEAST Marks.
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   21         17.   Monster is also the owner of numerous trademark registrations for
   22   its famous BEAST Marks for use in connection with beverages, nutritional
   23   supplements,     and   clothing, including   the   following   U.S.   Trademark
   24   Registrations:
   25
                  REG.                                            DATE       REG.
   26     MARK               GOODS/SERVICES
                   NO.                                            FILED      DATE
   27   UNLEASH 4,975,822 Clothing, namely, tops,               03/07/2014 06/14/2016
          THE             shirts, long-sleeved shirts,
   28
                                              -20-
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    1                 REG.                                    DATE        REG.
          MARK                    GOODS/SERVICES
                      NO.                                     FILED       DATE
    2
          BEAST!          t-shirts, hooded shirts and
    3                     hooded sweatshirts, sweat
    4                     shirts, jackets, pants,
    5                     bandanas, socks, sweat
                          bands and gloves;
    6                     headgear, namely, hats and
    7                     beanies
    8   UNLEASH 2,769,364 Fruit juice drinks, soft           12/18/2002 09/30/2003
          THE             drinks, carbonated soft
    9
         BEAST!           drinks and soft drinks
   10                     enhanced with vitamins,
   11                     minerals, nutrients, amino
   12                     acids and/or herbs

   13
         PUMP UP     4,482,659 Nutritional supplements in    5/15/2013   02/11/2014
   14      THE                 liquid form; vitamin
   15     BEAST!               fortified beverages
         PUMP UP     4,482,660 Dairy-based beverages;        05/15/2013 02/11/2014
   16
           THE                 dairy-based energy shakes
   17     BEAST!
   18    PUMP UP     4,542,107 Ready to drink coffee-        05/15/2013 06/03/2014
   19      THE                 based beverages; coffee-
          BEAST!               based shakes for boosting
   20
                               energy; chocolate-based
   21                          shakes for boosting energy;
   22                          ready to drink chocolate-
                               based beverages
   23
         PUMP UP     4,546,402 Non-alcoholic beverages,      05/15/2013 06/10/2014
   24      THE                 namely, non-alcoholic and
   25     BEAST!               non-carbonated drinks
   26                          enhanced with vitamins,
                               minerals, nutrients,
   27
                               proteins, amino acids
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    1                 REG.                                       DATE        REG.
          MARK                     GOODS/SERVICES
                      NO.                                        FILED       DATE
    2
                                 and/or herbs; non-
    3                            carbonated energy or sports
    4                            drinks
    5     REHAB      4,336,329   Ready to drink tea, iced tea   11/03/2010 05/14/2013
           THE                   and tea based beverages;
    6
          BEAST!                 ready to drink flavored tea,
    7                            iced tea and tea based
    8                            beverages; non-alcoholic
                                 beverages, namely, energy
    9
                                 drinks, sports drinks and
   10                            fruit juice drinks; all the
   11                            foregoing enhanced with
   12                            vitamins, minerals,
                                 nutrients, proteins, amino
   13                            acids and/or herbs
   14   UNLEASH 4,394,044        Non-alcoholic beverages,       12/14/2010 07/27/2013
   15     THE                    namely, carbonated soft
         NITRO                   drinks; carbonated drinks
   16
         BEAST!                  enhanced with vitamins,
   17                            minerals, nutrients,
   18                            proteins, amino acids
                                 and/or herbs; carbonated
   19
                                 energy or sports drinks
   20   UNLEASH 4,371,544        Non-alcoholic beverages,       11/19/2012 07/23/2013
   21     THE                    namely, carbonated soft
   22    ULTRA                   drinks; carbonated drinks
         BEAST!                  enhanced with vitamins,
   23
                                 minerals, nutrients,
   24                            proteins, amino acids
   25                            and/or herbs; carbonated
                                 energy drinks and sports
   26
                                 drinks
   27     REHAB      4,292,502   Ready To drink tea, iced       02/15/2012 02/19/2013
   28
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    1                   REG.                                    DATE          REG.
          MARK                        GOODS/SERVICES
                        NO.                                     FILED         DATE
    2
           THE            tea and tea based
    3     BEAST!          beverages; ready to drink
    4                     flavored tea, iced tea and
    5                     tea based beverages; non-
                          alcoholic beverages,
    6                     namely, energy drinks,
    7                     sports drinks and fruit juice
    8                     drinks, all the foregoing
                          enhanced with vitamins,
    9
                          minerals, nutrients,
   10                     proteins, amino acids
   11                     and/or herbs
   12   UNLEASH 4,953,200 Caffeine free nutritional     05/28/2014 05/03/2016
          THE             supplements in liquid form;
   13   CAFFEINE          non-alcoholic beverages,
   14     FREE            namely, carbonated energy
   15    BEAST!           drinks, sports drinks, and
                          soft drinks, energy drinks
   16
                          and sports drinks enhanced
   17                     with vitamins, minerals,
   18                     nutrients, amino acids
                          and/or herbs; all goods do
   19
                          not contain caffeine
   20
   21         18.   Attached hereto as Exhibits B1-B11 are true and correct copies of
   22   Monster’s trademark registrations identified in Paragraph 17 of this Complaint,
   23   which are hereby incorporated by reference.
   24         19.   Pursuant to 15 U.S.C. § 1065, U.S. Trademark Registration No.
   25   2,769,364 is incontestable.
   26         20.   Monster’s MONSTER Marks, MONSTER Trade Dress, and
   27   BEAST Marks are the subject of substantial and continuous marketing and
   28   promotion by Monster. Since 2002, Monster has spent over $4.3 billion dollars
                                             -23-
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    1   in advertising, promoting, and marketing its MONSTER brand, MONSTER
    2   Trade Dress, and BEAST Marks. In 2016 alone, Monster spent $467 million
    3   dollars in advertising, promoting, and marketing its brand, marks, and trade
    4   dress.
    5            21.   Monster has and continues to widely market and promote its
    6   MONSTER Marks, MONSTER Trade Dress, and BEAST Marks by displaying
    7   the marks and trade dress on billions of cans of its MONSTER drinks sold in the
    8   U.S. Monster’s promotional efforts also include – by way of example but not
    9   limitation – sponsorship of athletes, athletic teams, athletic competitions,
   10   concerts and live events around the world, widespread distribution of
   11   promotional and point of sale materials, product samplings, apparel and
   12   merchandise bearing the MONSTER Marks, MONSTER Trade Dress, and/or
   13   BEAST Marks, promotion in magazines and other industry publications,
   14   promotion on the MONSTER ENERGY® website and other Internet websites,
   15   and attendance at trade shows. Virtually every marketing and promotional item
   16   uses the colors black and green.
   17            22.   Monster has an established and versatile history in motorsports. A
   18   major part of Monster’s brand promotion focuses on racing and motorsports.
   19   Monster sponsors or has sponsored a wide variety of motorsport athletes, teams,
   20   and/or activities, including, but not limited to, NASCAR, Formula 1, MotoGP,
   21   Moto2, Supercross, motocross, MXGP, MX2, drag racing, drifting, flat track,
   22   off road, rally, rallycross, snowmobile, speedway, stunt, superbike, and freestyle
   23   motocross.
   24            23.   On January 1, 2017, Monster became the title sponsor of
   25   NASCAR’s premier series (formerly called the NASCAR Sprint Cup Series),
   26   which will now be called the Monster Energy® NASCAR Cup Series. Monster
   27   also became the official energy drink of NASCAR. NASCAR is the second
   28   most watched sport in the U.S., with over 5 million fans watching each of the 41
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    1   races. Below is the logo for the Monster Energy® NASCAR Cup Series:
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    8         24.   Monster also has sponsored and continues to sponsor numerous
    9   athletes that compete in various classes of NASCAR racing. For example, in
   10   2011, Monster began its sponsorship of NASCAR driver Kyle Busch, who
   11   holds several records in NASCAR racing and won the prestigious 2015 Sprint
   12   Cup Series, the top racing series of NASCAR. In 2015 Kyle Busch earned his
   13   75th Xfinity Series win at Kansas Speedway racing for Joe Gibbs Racing in the
   14   No. 54 MONSTER ENERGY® Toyota Camry.               In 2012, Monster added
   15   sponsorship of Kyle’s older brother, Kurt Busch, who is also a NASCAR driver
   16   and winner of the 2010 All-Star Race and the 2004 Sprint Cup. Monster also
   17   sponsors the Stewart Haas Racing team with its current driver Kurt Busch who
   18   drives the #41 Monster Energy/HAAS Automation Chevy. The drivers’ cars
   19   and racing gear prominently display the MONSTER Marks and MONSTER
   20   Trade Dress as shown, for example, below:
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              25.   Monster also has been a long-time sponsor of Ricky Carmichael
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        who transitioned from one of the world’s greatest Supercross and Motocross
   22
        racers to a NASCAR truck driver. Carmichael prominently promotes Monster’s
   23
        MONSTER Marks and MONSTER Trade Dress. Some examples of Monster’s
   24
        sponsorship of Carmichael are shown below:
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   11         26.   Monster also sponsors or has sponsored athletes and teams who
   12   compete in other truck and car racing events, including, but not limited to,
   13   SCORE Off-Road Racing events, the King of the Hammers desert racing event,
   14   and the Off-Road Championship event (TORC).         Monster sponsors or has
   15   sponsored the following teams that compete in truck and car racing events: the
   16   Mercedes AMG PETRONAS F1 Racing Team (formerly named the Mercedes
   17   GP Petronas Formula One Team) that competes in the FIA Formula One World
   18   Championship Series with its current team drivers 3-time Formula One World
   19   Champion, Lewis Hamilton and current Formula One World Champion, Nico
   20   Rosberg, the Holden Racing Team, and the MONSTER ENERGY® X-Raid
   21   racing team. Together, Lewis Hamilton and Nico Rosberg won 19 of the 21
   22   FIA Formula One races in 2016. In addition, the Monster-sponsored Mercedes
   23   AMG PETRONAS F1 Racing Team previously included seven-time World
   24   Champion Michael Schumacher before Schumacher’s retirement in 2012. Some
   25   examples of Monster’s sponsorships of athletes and teams who compete or have
   26   competed in car and truck racing events are shown below:
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   21         27.    In addition, Monster recently announced a global partnership with
   22   Lewis Hamilton, which is separate and in addition to Monster’s sponsorship of
   23   the Mercedes AMG PETRONAS F1 Racing Team. As part of the global
   24   partnership, Monster and Lewis Hamilton will be creating and releasing a
   25   signature drink together.
   26         28.    Monster also has and continues to widely market and promote its
   27   MONSTER Marks and MONSTER Trade Dress in connection with motorcycle
   28   racing events. For example, Monster sponsors or has sponsored the following

                                             -28-
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    1   motorcycle racing events: MotoGP motorcycle racing events (16-18 around the
    2   world per year including 2-3 in the United States), the Outdoor National
    3   Motocross Series, the X Games, the MONSTER ENERGY® AMA Supercross
    4   Series (as the title sponsor for 16 of the 17 series races each year since 2008),
    5   the MONSTER ENERGY® Speedway World Championship, Arenacross
    6   events, MX1 and MX2 FIM Motocross World Championships, the Motocross of
    7   Nations, the MX3 FIM Motocross World Championship, and the FIM MX
    8   Junior World Championship, among others. Monster also sponsors teams that
    9   compete in motorcycle racing events including, for example, the ProCircuit
   10   Kawasaki Motocross/Supercross Team, the MONSTER ENERGY® Kawasaki
   11   Factory Team, the Yamaha Factory MotoGP Team with its renowned racers
   12   Valentino Rossi (nine-time Grand Prix World Champion, with seven
   13   championships in the premier class) and Jorge Lorenzo (five-time Grand Prix
   14   World Champion, with two championships in the premier class), the
   15   MONSTER ENERGY® Yamaha Tech 3 MotoGP Team, the Yamaha MX1
   16   Team,    the    Yamaha      MX2     Team,     and    Team     Babbitt’s/Monster
   17   Energy/AMSOIL/Kawaski Arenacross team.           Some examples of Monster’s
   18   sponsorship of these events and teams are shown, for example, below:
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   18         29.   Monster sponsored athletes compete or have competed in
   19   Professional Bull Riding, the Kentucky Derby, Ultimate Fighting Championship
   20   (“UFC”), and the National Football League.         Specifically, Monster has
   21   sponsored Victor Espinoza and American Pharoah, who won the American
   22   Triple Crown and the Breeder’s Cup Classic in 2015. Monster also sponsors
   23   Rob Gronkowski, a professional football player who plays for the NFL’s New
   24   England Patriots.   In 2011, Gronkowski set NFL single-season records for
   25   touchdowns and receiving yards by a tight end and became the first tight end in
   26   NFL history to lead the conference in scoring. Additionally, Monster sponsors
   27   Daniel Cormier, light heavyweight champion in the UFC, Ronda Rousey,
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    1   former UFC women’s bantamweight champion and Connor McGregor,
    2   featherweight champion in the UFC.
    3         30.    Monster began sponsoring Tiger Woods in 2016. Tiger Woods is
    4   one of the most successful and famous golfers in the world. In his storied
    5   career, Woods has won fourteen major championships, including the prestigious
    6   Masters Tournament, the U.S. Open, The British Open Championship, and the
    7   PGA Championship.
    8         31.    When competing, at public appearances, or both, the sponsored
    9   athletes and team members almost always wear clothing or use equipment that
   10   prominently display one or more of the MONSTER Marks and/or the
   11   MONSTER Trade Dress. The sponsored athletes and team members are also
   12   frequently shown drinking MONSTER drinks, the majority of which bear at
   13   least one of the BEAST Marks. The MONSTER Marks and MONSTER Trade
   14   Dress are prominently displayed at the event venues, as well as on the clothing,
   15   helmets, and/or bikes, trucks or cars of riders or teams sponsored by Monster.
   16   Through Monster’s sponsorships, millions of consumers have been exposed to
   17   the MONSTER Marks, MONSTER Trade Dress, and BEAST Marks when they
   18   watch the athletes and teams compete at events—many of which are televised
   19   nationwide—or see the athletes at public appearances or in Internet postings and
   20   magazines.
   21         32.    In addition to sponsoring professional athletes and teams, since at
   22   least 2004, Monster uses the mark MONSTER ARMY™ in connection with an
   23   amateur athlete development program. More than 376,000 amateur athletes in
   24   various sports have applied to be accepted as part of the Monster Army through
   25   the Monster Army website <www.monsterarmy.com>. Shown below are true
   26   and accurate representative pictures illustrating Monster’s use of its MONSTER
   27   ARMY™ mark.
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    1         33.   Monster supports members of the MONSTER ARMY™ in many
    2   different ways, but such support often includes assistance with clothing, gear,
    3   training, and travel. Members of the MONSTER ARMY™ also typically wear
    4   MONSTER branded clothing and gear which prominently display one or more
    5   of the MONSTER Marks and/or the MONSTER Trade Dress. Monster also
    6   provides athletes with hats, t-shirts, stickers, and/or embroidered patches
    7   bearing the MONSTER Marks and the MONSTER Trade Dress. The athletes
    8   will wear or apply these items to their sports equipment and gear in order to
    9   promote the MONSTER brand of products during competition
   10         34.   Monster’s MONSTER Marks, MONSTER Trade Dress, and
   11   BEAST Marks were also marketed and promoted while prominently displayed
   12   on the Las Vegas monorail (the “Monster Train”). In 2003, Monster engaged in
   13   a massive advertising campaign in connection with its sponsorship of the
   14   Monster Train, which prominently featured the MONSTER Mark, MONSTER
   15   Trade Dress, and UNLEASH THE BEAST!® mark. The Monster Train was
   16   featured in The Wall Street Journal, Time and USA Today in 2003, and these
   17   articles were read by an estimated 32 million people in the U.S. In addition,
   18   television and internet reports that discussed the Las Vegas Monster Train
   19   reached another 70 million readers, and television and radio promotions were
   20   circulated to approximately 36 million people in the U.S.
   21         35.   Monster’s MONSTER line of drinks has achieved substantial
   22   commercial success. Worldwide retail sales now exceed 3 billion cans per year,
   23   with estimated retail sales at approximately $6 billion per year worldwide.
   24   Monster’s MONSTER brand has established itself as the best-selling energy
   25   drink brand in the United States by unit volume and dollar value.        While
   26   Monster continues to expand its successful MONSTER line of drinks,
   27   Monster’s best-selling drink is still the original Monster Energy®, which
   28   prominently features the colors green and black.
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    1         36.   As a result of Monster’s substantial use and promotion of its
    2   MONSTER Marks, MONSTER Trade Dress, and BEAST Marks, the marks and
    3   trade dress have acquired great value as specific identifiers of Monster’s
    4   products and services and serve to identify and distinguish Monster’s
    5   MONSTER products and services from those of others. Customers in this
    6   Judicial District and elsewhere readily recognize Monster’s MONSTER Marks,
    7   MONSTER Trade Dress, and BEAST Marks as distinctive designations of the
    8   origin of Monster’s MONSTER and MONSTER ENERGY® brand of products,
    9   services and promotional items. The MONSTER Marks, MONSTER Trade
   10   Dress, and BEAST Marks are intellectual property assets of enormous value as
   11   symbols of Monster and its quality products, services, reputation, and goodwill.
   12   B.    Defendant’s Infringing Activities
   13         37.   Defendant is engaged in the business of producing, distributing,
   14   marketing, and/or selling automotive tools and related goods, as well as other
   15   products.       Defendant     also     owns     and    operates   the   websites
   16   <http://www.isnweb.com>,             <https://www.mobiledealer.com>,         and
   17   <https://www.toolweb.com/>       and     maintains    the   Facebook     account
   18   <https://www.facebook.com/isntools/>          and     the    Twitter     account
   19   <https://twitter.com/ISN_Tools>.
   20         38.   Without permission or consent from Monster, Defendant has sold
   21   and is offering for sale goods using trademarks and trade dress that are
   22   confusingly similar to one or more of the MONSTER Marks, the MONSTER
   23   Trade Dress, and one or more of the BEAST Marks. Some examples of
   24   Defendant’s products displaying the infringing marks are shown below:
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   15         39.   As shown above, Defendant is using the marks MONSTER,
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   17   MONSTER MOBILE, and                         , which are confusingly similar to
   18   Monster’s MONSTER Marks, on and in connection with food items, such as
   19   jerky, nuts, and candies, clothing, hats, gloves, bags, tumblers, and various
   20   automotive tools and related goods. On information and belief, Defendant is
   21
   22   also using the MONSTER, MONSTER MOBILE, and/or                        marks on
   23   stickers and decals to be displayed on trucks and automobiles. Defendant is also
   24   using the mark FEED THE BEAST, which is confusingly similar to Monster’s
   25   BEAST Marks, in connection with food items. In addition, Defendant
   26   predominantly uses its marks in a green and/or green and black font on a black
   27   background, which is confusingly similar to the MONSTER Trade Dress.
   28   Defendant uses a shade of green that is almost identical to the green used by

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    1   Monster. Indeed, Defendant has referred to its green as “Monster green,” as
    2   shown below.
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    1         40.   Moreover, as shown above, Defendant is using a wing-design in
    2   connection with its mark, which is similar in appearance to the wing designs in
    3
    4                                      ®
        Monster’s          ™ and               marks. Defendant is also using an “M” by
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        itself on clothing, which is similar to Monster’s M MONSTER ENERGY and
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              marks, as shown below. Defendant’s use of a wing-design and an M by
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        itself is yet another example of Defendant’s efforts to falsely associate itself
    9
        with Monster.
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   21         41.   In addition to their unauthorized use of the MONSTER,
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   23   MONSTER MOBILE,                     , and FEED THE BEAST marks, Defendant
   24   is selling products that are co-branded with an entity that is licensed to use
   25   Monster’s MONSTER Marks.          For example, upon information and belief,
   26   following Monster’s license agreement for the sale of gloves co-branded with
   27   Mechanix Wear, Defendant began selling gloves co-branded with Mechanix
   28   Wear that display the mark MONSTER MOBILE.                Both Monster’s and
                                               -40-
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    1   Defendant’s gloves prominently feature the mark MONSTER and the colors
    2   grey, black, and green. Monster’s and Defendant’s gloves are shown below.
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   17         42.   Defendant has further attempted to falsely associate itself with
   18   Monster and create a likelihood of confusion by distributing energy drinks.
   19   Defendant offers for sale energy drinks through product catalogs that also
   20   feature Defendant’s automotive goods.
   21         43.   Upon information and belief, Defendant was aware of Monster, the
   22   MONSTER Marks, the MONSTER Trade Dress, and the BEAST Marks when
   23   Defendant commenced its infringing activities. Defendant has been aware of
   24   the MONSTER Marks since at least as early as June 2014 when Monster filed
   25   the first of several Notices of Opposition in the United States Patent and
   26   Trademark Office against Defendant’s trademark applications for the infringing
   27   marks. Specifically, Monster has filed oppositions, based upon a likelihood of
   28   confusion with one or more of the MONSTER Marks, against Defendant’s U.S.
                                            -41-
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    1   Trademark Application Serial No. 85/806622 for the mark MONSTER
    2   MOBILE and U.S. Trademark Application Serial Nos. 86/371682, 86/371697,
    3
    4   86/371708, 86/371755, and 86/371761 for the mark                .
    5         44.   Without permission or consent from Monster, Defendant has
    6   infringed Monster’s MONSTER Marks, MONSTER Trade Dress, and BEAST
    7   Marks in interstate commerce by making, using, promoting, advertising, selling,
    8   and/or offering to sell products using marks, including the MONSTER
    9
   10   MOBILE, MONSTER,                     , and FEED THE BEAST marks, and
   11   packaging that are confusingly similar to Monster’s MONSTER Marks,
   12   MONSTER Trade Dress, and BEAST Marks.
   13         45.   Upon information and belief, Defendant’s actions alleged herein
   14   are intended to cause confusion, mistake, or deception as to the source of
   15   Defendant’s products and are intended to cause consumers and potential
   16   customers to believe that Defendant’s business and the goods that it offers are
   17   associated with Monster or Monster’s MONSTER family of products or
   18   services, when they are not.
   19         46.   Indeed, Defendant has a duty to avoid confusion with Monster, the
   20   MONSTER Marks, the BEAST Marks, and the MONSTER Trade Dress
   21   because Defendant entered the market after Monster. Nevertheless, Defendant
   22   has purposely sold, promoted, marketed, and/or distributed its products in a
   23   manner that causes a likelihood of confusion with Monster, the MONSTER
   24   Marks, the BEAST Marks, and the MONSTER Trade Dress.                 Moreover,
   25   Defendant has developed its promotion and marketing over time in a manner
   26   that increases this likelihood of confusion. For example, in 2014, Defendant
   27   filed U.S. trademark applications in black and white for marks that included the
   28   term “MONSTER”. In 2016, Defendant filed a trademark application for the
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    1   word “MONSTER” in green and black, which is identical to the MONSTER
    2   Trade Dress. After Defendant’s initial product sales, Defendant also began
    3   selling clothing bearing the word MONSTER and/or a separate “M” logo in
    4   green and black. Further, more recently, Defendant began selling food using the
    5   mark MONSTER combined with the mark BEAST and the colors green and
    6   black.     Defendant also began selling third party branded beverages and
    7   advertising them in catalogs displaying the marks MONSTER and/or BEAST.
    8            47.   By virtue of the acts complained of herein, Defendant has created a
    9   likelihood of injury to Monster’s business reputation and goodwill, caused a
   10   likelihood of consumer confusion, mistake, and deception as to the source of
   11   origin or relationship of Monster’s goods and services and Defendant’s
   12   products, and has otherwise competed unfairly with Monster by unlawfully
   13   trading on and using Monster’s MONSTER Marks, MONSTER Trade Dress,
   14   and BEAST Marks without Monster’s permission or consent.
   15            48.   Upon information and belief, Defendant’s acts complained of
   16   herein are willful and deliberate.
   17            49.   Defendant’s acts complained of herein have caused damage to
   18   Monster in an amount to be determined at trial, and such damages will continue
   19   to increase unless Defendant is enjoined from its wrongful acts and
   20   infringement.
   21            50.   Defendant’s acts complained of herein have caused Monster to
   22   suffer irreparable injury to its business. Monster will suffer substantial loss of
   23   goodwill and reputation unless and until Defendant is preliminarily and
   24   permanently enjoined from the wrongful acts complained of herein.
   25   ///
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    1                         IV. FIRST CLAIM FOR RELIEF
    2         (Trademark Infringement, Trade Dress Infringement, and False
    3                   Designation of Origin Under 15 U.S.C. § 1125(a))
    4         51.     Monster hereby repeats, realleges, and incorporates by reference
    5   paragraphs 1-50 of this Complaint as though fully set forth herein.
    6         52.     This is an action for trademark infringement, trade dress
    7   infringement, and false designation of origin arising under 15 U.S.C. § 1125(a).
    8         53.     As a result of the widespread use and promotion of Monster’s
    9   MONSTER Marks, MONSTER Trade Dress, and BEAST Marks, the marks and
   10   trade dress have acquired strong fame and secondary meaning to consumers and
   11   potential customers, in that consumers and potential customers have come to
   12   associate the MONSTER Marks, MONSTER Trade Dress, and BEAST Marks
   13   with Monster.
   14         54.     Defendant has infringed the MONSTER Marks and MONSTER
   15   Trade Dress, and created a false designation of origin, by using in commerce,
   16   without Monster’s permission, the confusingly similar MONSTER, MONSTER
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   18
        MOBILE, and                     marks in green and black in connection with the
   19
        advertisement, offering for sale, and/or sale of Defendant’s products, including
   20
        food items, clothing, bags, stickers, tumblers, and automotive tools and related
   21
        goods.
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              55.     Defendant has infringed the BEAST Marks, and created a false
   23
        designation of origin, by using in commerce, without Monster’s permission, the
   24
        confusingly similar FEED THE BEAST mark in connection with the
   25
        advertisement, offering for sale, and/or sale of Defendant’s products, including
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        food items.
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    1         56.    Defendant’s actions are likely to cause confusion and mistake, or to
    2   deceive as to the affiliation, connection, or association of Monster with
    3   Defendant, and/or as to the origin, sponsorship, or approval of Defendant’s
    4   products or Defendant’s commercial activities, in violation of 15 U.S.C.
    5   § 1125(a).
    6         57.    Upon information and belief, Defendant did so with the intent to
    7   trade upon Monster’s reputation and goodwill by causing confusion and mistake
    8   among customers and the public and to deceive the public into believing that
    9   Defendant’s products are associated with, sponsored by or approved by
   10   Monster, when they are not.
   11         58.    Upon information and belief, Defendant had actual knowledge of
   12   Monster’s ownership and prior use of the MONSTER Marks, MONSTER Trade
   13   Dress, and BEAST Marks, and without the consent of Monster, willfully
   14   violated 15 U.S.C. § 1125(a).
   15         59.    Defendant, by its actions, has damaged Monster in an amount to be
   16   determined at trial.
   17         60.    Defendant, by its actions, has irreparably injured Monster. Such
   18   irreparable injury will continue unless Defendant is preliminarily and
   19   permanently enjoined by this Court from further violation of Monster’s rights,
   20   for which Monster has no adequate remedy at law.
   21                          V. SECOND CLAIM FOR RELIEF
   22                (Trademark Infringement Under 15 U.S.C. § 1114)
   23         61.    Monster hereby repeats, realleges, and incorporates by reference
   24   paragraphs 1-60 of this Complaint as though fully set forth herein.
   25         62.    This is a claim for trademark infringement arising under 15 U.S.C.
   26   § 1114.
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    1         63.    Monster    owns    valid   and      enforceable   federally   registered
    2   trademarks for the MONSTER Marks and BEAST Marks, including at least the
    3   registrations listed in paragraphs 10 and 17 above.
    4         64.    Defendant has used in commerce, without permission from
    5   Monster, colorable imitations, and/or confusingly similar marks to Monster’s
    6   MONSTER Marks that are the subject of at least Monster’s U.S. Trademark
    7   Registration Nos. 4,721,433; 3,044,315; 3,057,061; 3,914,828; 3,923,683;
    8   3,908,601; 3,908,600; 4,332,062; 4,660,598; 3,740,050; 3,044,314; 3,134,842;
    9   4,036,680; 4,036,681; 4,111,964; 4,129,288; 4,376,796; 4,451,535; 4,716,750;
   10   4,634,053; 4,604,556; 3,959,457; 5,018,111; 4,234,456; 5,041,267; 4,989,137;
   11   5,013,706; 4,532,292; 4,534,414; 4,860,491; 4,856,373; 4,879,793; 3,924,797;
   12   3,852,118; 3,134,841; and 4,865,702            in connection with the advertising,
   13   marketing, and/or promoting of Defendant’s products, including food items,
   14   clothing, stickers, bags, tumblers, and automotive tools and related goods. Such
   15   use is likely to cause confusion or mistake, or to deceive.
   16         65.    Defendant has used in commerce, without permission from
   17   Monster, a colorable imitation, and/or confusingly similar mark to Monster’s
   18   BEAST Marks that are the subject of at least Monster’s U.S. Trademark
   19   Registration Nos. 2,769,364; 4,482,659; 4,482,660; 4,542,107; 4,546,402;
   20   4,336,329; 4,292,502; 4,394,044; 4,371,544; and 4,953,200 in connection with
   21   the advertising, marketing, and/or promoting of Defendant’s products, including
   22   food items, such as jerky, nuts, and candies.         Such use is likely to cause
   23   confusion or mistake, or to deceive.
   24         66.    Upon information and belief, the activities of Defendant
   25   complained of herein constitute willful and intentional infringements of
   26   Monster’s registered marks, and Defendant did so with the intent to trade upon
   27   Monster’s reputation and goodwill by causing confusion and mistake among
   28   customers and the public and to deceive the public into believing that
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    1   Defendant’s products are associated with, sponsored by, originated from, or are
    2   approved by, Monster, when they are not.
    3           67.   Upon information and belief, Defendant had actual knowledge of
    4   Monster’s ownership and prior use of the MONSTER Marks and BEAST
    5   Marks, and has willfully violated 15 U.S.C. § 1114.
    6           68.   Defendant, by its actions, has damaged Monster in an amount to be
    7   determined at trial.
    8           69.   Defendant, by its actions, has irreparably injured Monster. Such
    9   irreparable injury will continue unless Defendant is preliminarily and
   10   permanently enjoined by this Court from further violation of Monster’s rights,
   11   for which Monster has no adequate remedy at law.
   12                          VI. THIRD CLAIM FOR RELIEF
   13          (Unfair Competition Under California Business & Professions Code
   14                                   §§ 17200 et seq.)
   15           70.   Monster hereby repeats, realleges, and incorporates by reference
   16   paragraphs 1-69 of this Complaint as though fully set forth herein.
   17           71.   This is an action for unfair competition under California Business
   18   & Professions Code §§ 17200, et seq.
   19           72.   By virtue of the acts complained of herein, Defendant has
   20   intentionally caused a likelihood of confusion among consumers and the public
   21   and has unfairly competed in violation of Cal. Bus. & Prof. Code §§ 17200, et
   22   seq.
   23           73.   Defendant’s acts complained of herein constitute trademark
   24   infringement, trade dress infringement, unfair competition, and unlawful, unfair,
   25   malicious or fraudulent business practices, which have injured and damaged
   26   Monster.
   27           74.   Defendant, by its actions, has irreparably injured Monster. Such
   28   irreparable injury will continue unless Defendant is preliminarily and
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    1   permanently enjoined by this Court from further violation of Monster’s rights,
    2   for which Monster has no adequate remedy at law.
    3                       VII. FOURTH CLAIM FOR RELIEF
    4                   (California Common Law Unfair Competition)
    5         75.     Monster hereby repeats, realleges, and incorporates by reference
    6   paragraphs 1-74 of this Complaint as though fully set forth herein.
    7         76.     This is an action for unfair competition under the common law of
    8   the State of California.
    9         77.     Defendant’s acts complained of herein constitute trademark
   10   infringement and unfair competition under the common law of the State of
   11   California.
   12         78.     By virtue of the acts complained of herein, Defendant has willfully
   13   and intentionally caused a likelihood of confusion among the purchasing public
   14   in this Judicial District and elsewhere, thereby unfairly competing with Monster
   15   in violation of the common law of the State of California.
   16         79.     Defendant’s aforementioned acts have damaged Monster in an
   17   amount to be determined at trial.
   18         80.     Defendant has irreparably injured Monster. Such irreparable injury
   19   will continue unless Defendant is preliminarily and permanently enjoined by
   20   this Court from further violation of Monster’s rights, for which Monster has no
   21   adequate remedy at law.
   22         81.     Defendant’s willful acts of unfair competition under California
   23   common law constitute fraud, oppression and malice. Accordingly, Monster is
   24   entitled to exemplary damages pursuant to Cal. Civ. Code Section § 3294(a).
   25                              VIII. PRAYER FOR RELIEF
   26   WHEREFORE, Monster prays for judgment against Defendant as follows:
   27         1.      That the Court render a final judgment in favor of Monster and
   28   against Defendant on all claims for relief alleged herein;
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    1         2.    That the Court render a final judgment that Defendant has violated
    2   the provisions of 15 U.S.C. § 1125(a) by willfully infringing the MONSTER
    3   Marks, MONSTER Trade Dress, and BEAST Marks by using a false
    4   designation of origin, through the marketing, sale and promotion of Defendant’s
    5   products, including food items, such as jerky, nuts, and candies, clothing,
    6   stickers, bags, tumblers, and automotive tools and related goods;
    7         3.    That the Court render a final judgment that Defendant has willfully
    8   violated the provisions of 15 U.S.C. § 1114 by infringing Monster’s trademark
    9   rights in at least the marks that are the subject of U.S. Trademark Registration
   10   Nos. 4,721,433; 3,044,315; 3,057,061; 3,914,828; 3,923,683; 3,908,601;
   11   3,908,600; 4,332,062; 4,660,598; 3,740,050; 3,044,314; 3,134,842; 4,036,680;
   12   4,036,681; 4,111,964; 4,129,288; 4,376,796; 4,451,535; 4,716,750; 4,634,053;
   13   4,604,556; 3,959,457; 5,018,111; 4,234,456; 5,041,267; 4,989,137; 5,013,706;
   14   4,532,292; 4,534,414; 4,860,491; 4,856,373; 4,879,793; 3,924,797; 3,852,118;
   15   3,134,841; 4,865,702; 2,769,364; 4,482,659; 4,482,660; 4,542,107; 4,546,402;
   16   4,336,329; 4,292,502; 4,394,044; 4,371,544; and 4,953,200.
   17         4.    That the Court render a final judgment declaring that Defendant
   18   has violated California Business and Professions Code §§ 17200, et seq. by
   19   committing trademark infringement, and unfairly competing with Monster;
   20         5.    That the Court render a final judgment declaring Defendant has
   21   violated California common law by unfairly competing with Monster;
   22         6.    That Defendant, its agents, servants, employees, attorneys,
   23   successors, and assigns, and all other persons in active concert or participation
   24   with any of them who receive actual notice of the injunction by personal service
   25   or otherwise, be forthwith preliminarily and permanently enjoined from:
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    1               a.       using the marks MONSTER MOBILE, MONSTER,
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    3
                              , and FEED THE BEAST in connection with the
    4
              advertising, promotion, or sale of food items, such as jerky, nuts, and
    5
              candies, clothing, tumblers, and automotive tools and related goods, using
    6
              any of the MONSTER Marks, BEAST Marks, or MONSTER Trade
    7
              Dress, in connection with Defendant’s products, using any of the
    8
              MONSTER Marks, BEAST Marks, or MONSTER Trade Dress in
    9
              advertising or promoting Defendant’s products, and/or using confusingly
   10
              similar variations of any of the MONSTER Marks, BEAST Marks, or
   11
              MONSTER Trade Dress in any manner that is likely to create the
   12
              impression that Defendant’s products originate from Monster, are
   13
              endorsed by Monster, or are connected in any way with Monster;
   14
                    b.       manufacturing,      distributing,    shipping,     importing,
   15
              reproducing, displaying, advertising, marketing, promoting, transferring,
   16
              selling, and/or offering to sell any unauthorized products bearing any of
   17
              the MONSTER Marks, BEAST Marks, or MONSTER Trade Dress,
   18
              and/or any confusingly similar marks or trade dress;
   19
                    c.       filing any applications for registration of any trademarks,
   20
              trade dress, or designs confusingly similar to the MONSTER Marks,
   21
              BEAST Marks, or MONSTER Trade Dress;
   22
                    d.       otherwise infringing any of the MONSTER Marks, BEAST
   23
              Marks, or any of Monster’s other trademarks, or Monster’s MONSTER
   24
              Trade Dress;
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                    e.       falsely designating the origin of Defendant’s products;
   26
                    f.       unfairly competing with Monster in any manner whatsoever;
   27
              and
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    1                g.    causing a likelihood of confusion or injury to Monster’s
    2         business reputation;
    3         7.     That Defendant be directed to file with this Court and serve on
    4   Monster within thirty (30) days after the service of the injunction, a report, in
    5   writing, under oath, setting forth in detail the manner and form in which it has
    6   complied with the injunction pursuant to 15 U.S.C. § 1116.
    7         8.     That Defendant be required to account to Monster for any and all
    8   profits derived by Defendant and all damages sustained by Monster by virtue of
    9   Defendant’s acts complained of herein;
   10         9.     That Defendant be ordered to pay over to Monster all damages
   11   which Monster has sustained as a consequence of the acts complained of herein,
   12   subject to proof at trial, together with prejudgment and post-judgment interest;
   13         10.    That this case be deemed exceptional and the amount of the
   14   damages be trebled and that the amount of profits be increased by as many times
   15   as the Court deems appropriate, pursuant to 15 U.S.C. § 1117;
   16         11.    That Monster be awarded exemplary damages from Defendant
   17   pursuant to Cal. Civ. Code. § 3294;
   18         12.    That Defendant’s actions be deemed willful;
   19         13.    That an award of reasonable costs, expenses, and attorneys’ fees be
   20   awarded to Monster pursuant to at least 15 U.S.C. § 1117;
   21         14.    That Defendant be required to deliver and destroy all devices,
   22   literature, advertising, goods and other unauthorized materials bearing the
   23
   24   MONSTER MOBILE, MONSTER,                              , or FEED THE BEAST
   25   marks, any of the MONSTER Marks or BEAST Marks, or any confusingly
   26   similar marks, pursuant to 15 U.S.C. § 1118;
   27         15.    That Monster be awarded restitution and disgorgement; and
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    1         16.   That Monster be awarded such other and further relief as this Court
    2   may deem just.
    3                                Respectfully submitted,
    4                                KNOBBE, MARTENS, OLSON & BEAR, LLP
    5
    6
    7   Dated: March 22, 2017        By: /s/ Lynda J. Zadra-Symes
                                        Steven J. Nataupsky
    8                                   Lynda J. Zadra-Symes
    9                                   Jason A. Champion
                                        Julianna M. Simon
   10
   11                                Attorneys for Plaintiff,
                                     MONSTER ENERGY COMPANY
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    1                          IX. DEMAND FOR TRIAL BY JURY
    2              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
    3   Monster Energy Company hereby demands a trial by jury on all issues so
    4   triable.
    5                                     Respectfully submitted,
                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
    6
    7
    8   Dated: March 22, 2017             By: /s/ Lynda J. Zadra-Symes
    9                                        Steven J. Nataupsky
                                             Lynda J. Zadra-Symes
   10                                        Jason A. Champion
   11                                        Julianna M. Simon
   12                                     Attorneys for Plaintiff,
   13                                     MONSTER ENERGY COMPANY
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